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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO



JOHNNY ELLIS,

               Petitioner,

vs.                                                           No. CV 21-00947 KWR/JHR

STATE OF NEW MEXICO,

               Respondent.


                             ORDER TO CURE DEFICIENCIES


       THIS MATTER is before the Court on the pro se handwritten letter filed by Petitioner

Johnny Ellis (Doc. 1) (“Petition”). The Court determines that the pro se Petition is deficient, as

follows:

       (1) Plaintiff has not paid the $5 filing fee or filed an Application to Proceed in the District

Court Without Prepaying Fees and Costs; and

       (2) the pro se petition is not in proper federal form. (Doc. 1). It is handwritten and appears

to challenge Ellis’s conviction and sentence for sexual assault on a minor in a New Mexico state

court criminal proceeding. (Doc. 1at 1). Ellis contends that “there was no physical evidence or

medical.” (Doc. 1 at 1).

       Plaintiff must cure the deficiencies if he wishes to pursue habeas corpus claims in federal

court. The deficiencies must be cured within thirty (30) days of entry of this Order. Plaintiff must

include the civil action number, CV 21-00947 KWR/JHR on all papers he files in this proceeding.

If Plaintiff fails to cure the deficiencies within thirty (30) days, the Court may dismiss this

proceeding without further notice.


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       IT IS ORDERED that, within thirty (30) days of entry of this Order, Petitioner Johnny

Ellis cure the deficiencies by (1) paying the $5 filing fee or submitting an Application to Proceed

in the District Court Without Prepaying Fees and Costs and (2) filing a petition for writ of habeas

corpus under 28 U.S.C. § 2254 in proper form.

       IT IS FURTHER ORDERED that the Clerk of the Court is directed to mail to Plaintiff ,

together with a copy of this order, (1) two copies of an Application to Proceed in the District Court

without Prepaying Fees and Costs under 28 U.S.C. § 1915, with instructions, and (2) a form

petition for writ of habeas corpus under 28 U.S.C. § 2254, with instructions.



                                                      ____________________________________
                                                      UNITED STATES MAGISTRATE JUDGE




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